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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION ACTION

PLAINTIFF,
CASE NO.: 05-1812 (RBW)

“

Vv.
HARLEY G. LAPPIN, DIRECTOR,

FEDERAL BUREAU OF PRISONS,
DEFENDANTS

DECLARATION OF CYNTHIA LAWLER

I, the undersigned, Cynthia Lawler, do hereby make the following

unsworn declaration, pertinent to the above-styled and numbered cause.

1. I am a Paralegal Specialist for the Federal Bureau of Prisons
(Bureau), Real Estate and Environmental Law Branch (REEL),
Washington, DC. In this position, my responsibilities include
scanning, filing and maintaining our office’s case files. This
declaration supplements my prior declaration dated October 3,

2008.

2. In searching for responsive records, I understood that the
request, 2003-08557, sought copies of all documents showing all
money paid by the Bureau for lawsuits and claims against it from

the dates of January 1, 1996, through and including July 31,

2003. In September 2006, I was contacted by Wilson Moorer, to

search for records in response to this request.
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The only responsive records maintained in REEL include copies of
real estate and environmental files. All responsive records
maintained by REEL are controlled by this office. No other

records as described in paragraph two are maintained by this

office.

The only means of creating an accurate and complete list of
responsive records maintained in REEL, was to review the real
estate and environmental files. The documents reviewed were

located in the office filing system. The files are arranged in

alphabetical order by institution/region.

I conducted this review by searching the hard copies of the real
estate and environmental files. A list of relevant files were
determined by the attorneys in my office. I reviewed each file to
determine accurate dates and relevancy to the request. The
relevancy of the documents was confirmed by the attorneys in my

office.

Based on my review of the real estate and environmental files, I
determined that all responsive claims maintained in REEL had been
identified, and I created a list of those documents. The real
estate and environmental files are the only source that would

reveal responsive documents maintained by REEL.

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Based on the list created as a result of my review of real estate
and environmental files, I retrieved and forwarded the responsive
documents as described in my October 9, 2008 declaration, to
Wilson Moorer in their original form. I did not redact the

documents or apply any exemptions.

I declare under the penalty of perjury and pursuant to 28 U.S.C.

S$ 1746 that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this ( day of March of 2010.

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Cynthia Lawler

Paralegal Specialist
Real Estate and Environmental Law Branch
